         Case 1:01-cv-02094-RCL Document 546 Filed 06/21/16 Page 1 of 8



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 DEBORAH D. PETERSON, Personal
 Representative of the Estate of James C.
 Knipple (Dec.), et al.,

                       Plaintiffs,                    Consolidated Case Nos.
                                                      01-cv-2094 (RCL)
        - against -                                   01-cv-2684 (RCL)

 ISLAMIC REPUBLIC OF IRAN, et al.,                    Re: ECF No. 542

                       Defendants.

                  DECLARATION OF JAY GLENN IN OPPOSITION TO
                 FAY & PERLES’ “EMERGENCY” MOTION TO QUASH
                    HIS AMENDED NOTICE OF CHARGING LIEN

       I, Jay Glenn, hereby declare:

       1.      I am an attorney admitted to practice law in the State of Illinois and in this action.

I am also a Vietnam War veteran, having achieved the rank of Captain in the United States Army.

I submit this declaration in opposition to the motion filed by Fay Law Group and Perles Law Firm,

P.C. (together, “Fay & Perles”) to quash my Amended Notice of Charging Lien (the “Notice of

Lien”). Except as otherwise indicated, I have personal knowledge of the matters set forth herein

and could testify competently thereto.

       2.      Shortly after the commencement of this action in October 2001, and the failure by

Defendants Islamic Republic of Iran and Iranian Ministry of Information and Security to timely

respond to the complaint, Thomas Fay (my brother in law) invited me to assist him and his co-

counsel, Steven Perles (operating with Fay as “Fay & Perles”) in proving damages on behalf of

Plaintiffs with whom they had signed Contingent Retainer Agreements, in contemplation of

securing a default judgment, and I agreed to do so. Fay & Perles also invited roughly a dozen

other persons to serve as so-called “damages attorneys” in this action. Fay represented to me, and
         Case 1:01-cv-02094-RCL Document 546 Filed 06/21/16 Page 2 of 8



presumably the other damages attorneys, that we would be paid from amounts recovered on behalf

of Plaintiffs we represented.

       3.      On December 18, 2002, this Court entered Defendants’ default and issued an

accompanying memorandum opinion providing Plaintiffs would be eligible to recover damages to

the extent they are able to demonstrate they sustained injuries.

       4.      At a hearing held on or about March 17, 2003, at which I and the other contemplated

damages attorneys were in attendance, this Court admitted me and such other attorneys pro hac

vice so that we could present Plaintiffs’ damages evidence to Special Masters. At the hearing Fay

& Perles represented to this Court that damages attorneys would be paid from amounts recovered

on behalf of Plaintiffs they represented.1

       5.      On May 30, 2003, this Court entered a default judgment as to all issues of liability,

and ordered that all damages claims be submitted to Court-appointed Special Masters, whereupon

this Court would enter judgment as to each compensatory damages claim following receipt and

consideration of reports and recommendations from the Special Masters.

       6.      Soon thereafter, I entered into an Agreement (the “Associate Counsel Agreement”)

prepared by Fay & Perles on their letterhead governing my retention as a damages attorney, a true

and correct copy of which is attached hereto as Exhibit 1. The agreement acknowledged Fay &

Perles would be paid 33-1/3% of any recovery by Plaintiffs they represented as their contingent

fee, and provided that I would be compensated as follows:

               (1) 3% of the gross amount collected from the Defendants with
               respect to compensatory damages as to each client referred [by Fay
               & Perles] to Associate Counsel [me]; and



1
 I have been advised that the relevant hearing transcript cannot be retrieved via PACER, or from this
Court’s Court Reporting and Recording Division because the hearing took place more than ten years go.

                                                 2
         Case 1:01-cv-02094-RCL Document 546 Filed 06/21/16 Page 3 of 8



               (2) an amount equal to the necessary expenses incurred by Associate
               Counsel in the preparation, prosecution, and administration of the
               case.

The agreement also defined my responsibilities as follows: “preparation of all witnesses for

hearing, presentation of all evidence to the Court or Special Master and presentation of all records

and medical reports to the Court.”

        7.     Fay & Perles ultimately referred 63 Plaintiffs to me to represent in damages

proceedings before a Special Master, which Plaintiffs are identified on Exhibit 1 to my Notice of

Lien.

        8.     Contrary to Fay & Perles’ assertion in the memorandum in support of their motion,

many of those Plaintiffs which I represented were located outside of Illinois. For example, certain

Belmer Plaintiffs were located in Virginia, Young Plaintiffs were located in Michigan and Maine,

Phillips Plaintiffs were located in South Carolina and Indiana, Thorstad Plaintiffs were located in

Indiana, Virginia, and Florida, Helms Plaintiffs were located in Nebraska, Moore Plaintiffs were

located in Missouri, Olson Plaintiffs were located in Minnesota and North Dakota, Scott Plaintiffs

were located in Arizona, Wheeler Plaintiffs were located in Minnesota, and Woollett Plaintiffs

were located in Oklahoma and Texas.

        9.     Beginning even before I entered into the Associate Counsel Agreement, I met with,

and devoted substantial time and effort preparing Plaintiffs for the damages proceedings, and I

later presented their individual damages cases and damages evidence to the Special Master. The

Plaintiffs were aware of the fact that I was to be compensated out of Fay & Perles’ portion of any

fees, as discussed below. During this period, from roughly 2001 to 2007, my professional efforts

were focused almost exclusively on maximizing provisional awards by the Special Master to

Marine Barracks bombing victims and their families, and I declined alternative professional



                                                 3
          Case 1:01-cv-02094-RCL Document 546 Filed 06/21/16 Page 4 of 8



opportunities in order to maximize their recoveries, when and if the judgments in this action could

be monetized as they now have been.

        10.     During the course of my representation, meetings, and discussions with these

Plaintiffs, I became aware of the existence of additional potential Plaintiffs, all relatives of Marine

Barracks bombing victims, with whom Fay & Perles (or any other attorneys) had not entered into

Contingent Retainer Agreements.

        11.     After advising Fay that I believed that there were additional potential plaintiffs who

might retain us, Fay and I orally agreed that if I were to engage additional Plaintiffs on Fay &

Perles’ behalf, I would be paid one-third of the contingent fee received by counsel on such

additional Plaintiffs’ behalf (“Additional Fee Agreement”), on top of the 3% contingent fee (plus

expenses) payable to me under the Associate Counsel Agreement for representing such additional

plaintiffs in damages proceedings before the Special Master.

        12.     Thereafter, I entered into Contingent Retainer Agreements, both on behalf of Fay

& Perles and individually, with 40 additional Plaintiffs identified on Exhibit 2 to my Notice of

Lien. True and correct copies of 33 such Contingent Retainer Agreements are attached as Exhibits

2A-2G (agreements with Livingston, Belmer, Phillips, Young, Swinson, Moore, and Thorstad

Plaintiffs not referred to me by Fay & Perles).2

        13.     Prior to executing each such agreement, I explained to each such additional Plaintiff

that one-third of the contingent fee that they were agreeing to pay counsel would go to me, and

each such additional Plaintiff consented to my being paid that amount from any recovery collected

on his or her behalf.


2
 I have not yet been able to locate the executed agreements with the remaining seven Plaintiffs, but believe
Fay & Perles have copies that I had forwarded to them and that they intend to rely on such agreements to
collect their own contingent fees from any distribution from the QSF Trust on behalf of those Plaintiffs.

                                                     4
         Case 1:01-cv-02094-RCL Document 546 Filed 06/21/16 Page 5 of 8



       14.      Following my entry into a Contingent Retainer Agreement with each additional

Plaintiff, I transmitted an executed copy of the same to Fay, together with a cover letter confirming

that the client was referred by me. True and correct copies of examples of such letters are attached

as Exhibit 3.

       15.      In addition, following my entry into Contingent Retainer Agreements with the

relatives of a Marine Barracks bombing victim, I completed a Family Information Sheet indicating

client names and family relationship with the victim, and transmitted the same to Fay, together

with a cover letter which provided:

                I located and executed Attorney Client Contracts for [names
                indicated on Family Information Sheet]. In accordance with prior
                discussions, I am entitled to an additional contingent fee of
                11.11% of any recovery/interest for these [__] claims.

A true and correct copy of an example of such transmittal letter is attached as Exhibit 4. Fay &

Perles never objected to or questioned my entitlement to that fee.

       16.      Further, following the Special Master’s entry of a report and recommendation for

each Marine Barracks bombing victim and his relatives that I represented, I transmitted a copy of

the same to Fay, together with a cover letter indicating the calculation of my fee under both the

Associate Counsel and Additional Fee Agreements, and Fay & Perles never objected. True and

correct copies of examples of such transmittal letters are attached as Exhibit 5.

       17.      On September 7, 2007, this Court entered default judgments in favor of the

Plaintiffs I represented in the amounts provisionally awarded in the Special Master’s reports and

recommendations. Thus, as of that date my responsibilities as a damages attorney were completed.

Even after such date, however, I continued to work on behalf of Plaintiffs herein, serving as local

counsel for Plaintiffs in actions against Iran pending in the United States District Court for the

Northern District of Illinois, where I am admitted (including the post-judgment collection action


                                                 5
         Case 1:01-cv-02094-RCL Document 546 Filed 06/21/16 Page 6 of 8



captioned Peterson v. Islamic Republic of Iran, Case No. 08-cv-1592 (N.D. Ill.)), without any

additional agreements concerning my compensation and for which I have not received any

compensation to date.

        18.     Nevertheless, Fay & Perles advised me in 2010 they would not pay me any amount

under the Associate Counsel or Additional Fee Agreements. In response, I commenced an action

against Fay & Perles (and certain other attorneys identified in my Notice of Lien) in the United

States District Court for the Southern District of New York (Case No. 10-cv-8287). Although that

action was dismissed in 2011 (without prejudice) on grounds of lack of jurisdiction and improper

venue, while the same was pending Fay acknowledged in the Rule 26(f) report, and his counsel

represented to the Court at argument, that Fay & Perles had in fact entered into the Associate

Counsel Agreement with Glenn and had agreed to compensate him as provided therein. True and

correct copies of excerpts from the Rule 26(f) report and transcript are attached hereto as Exhibit

6 and Exhibit 7.

        19.     Following the issuance of the mandate by the Second Circuit on May 24, 2016 in

the turnover action captioned Peterson, et al., v. Islamic Republic of Iran, et al., Case No. 10-cv-

4518 (KBF) (S.D.N.Y.), I engaged counsel and filed the Notice of Lien in this action, as well as a

letter in the turnover action advising of my having filed the Notice of Lien. A true and correct

copy of that letter is attached hereto as Exhibit 8.

        20.     Fay & Perles, through Plaintiffs’ counsel in the turnover action, responded by letter,

dated June 1, 2016, stating that no amount is due under the Associate Counsel or Additional Fee

Agreements because the latter “is not reflected anywhere in a writing” and I allegedly “breached

[the former] by failing to perform [my] assigned duties.” A true and correct copy of that letter is

attached as Exhibit 9. I did not fail to perform my duties and Fay & Perles have never supported

their assertion to the contrary.
                                                   6
          Case 1:01-cv-02094-RCL Document 546 Filed 06/21/16 Page 7 of 8



         21.    Thereafter, I filed a motion to intervene in the turnover action. A true and correct

copy of the memorandum of law filed in support of my motion is attached as Exhibit 10. That

motion was denied before an opposition was even submitted, whereupon Fay & Perles moved to

quash my Notice of Lien in this action.

         22.    Given that Fay & Perles admitted they did not raise any issues with my performance

as a damages attorney until three years after judgments were entered in this action and my work in

connection therewith had been completed, and that their challenges to the enforceability of the

Additional Fee Agreement are meritless both as a legal matter (as discussed in the accompanying

memorandum of points and authorities) and as a factual matter (because the Additional Fee

Agreement is supported by multiple writings), I believe Fay & Perles’ motion to quash my lien is

nothing more than a transparent attempt to avoid having to pay amounts owed to me, and perhaps

other damages attorneys that have substantially identical agreements with Fay & Perles, now that

the Second Circuit issued its mandate and a significant distribution to Plaintiffs (and their

attorneys) is anticipated, which was not the case in 2007 when final judgment was entered in

Plaintiffs’ favor in this action.

         23.    In support of their motion, Fay & Perles state my Notice of Lien should be quashed

because it was filed to delay distributions to Plaintiffs. That assertion is patently false. As a former

serviceman, I am acutely aware of the anguish the Marine Barracks bombing caused the victims

and their families and want nothing more than to have them to receive their distributions from the

recovered assets paid as quickly as possible. However, my being paid for services rendered will

not diminish nor delay their receipt of amounts to which they are entitled, because my

compensation is due solely from the contingent fees to be received by Fay & Perles, as indicated

above.



                                                   7
Case 1:01-cv-02094-RCL Document 546 Filed 06/21/16 Page 8 of 8
